Case 5:18-mc-00023 Document 1 Filed 06/05/18 Page 1 of 1 Page|D #: 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ol` pleadings or other papers as required by law, except as
provided by local rules Oi`CQurl. This t`orm, approved by the .ludicial Conf`erence oflhe Unlled Stale$ ln Seplember |974, is required for the use 01` the Clerk of C`our\ lnr the
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JS 44 (Re\. 061'17)

 

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Louls 1_. Robem, Robeln, Urann, Spencer, Plcard & Cangeml

2540 Severn Avenue, Ste. 400, Metairie. l_ouisiana 70002

(504) 885-9994

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Vl. CAUSE OF ACTION

VII. REQUESTED lN
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28 USC 1963

 

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Vlll. RELATED CASE(S)

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